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     Inc., d/b/a T3Leads, Grigor Demirchyan, and
10
     Marina Demirchyan
11
12
13                             UNITED STATES DISTRICT COURT
14                           CENTRAL DISTRICT OF CALIFORNIA
15                                     WESTERN DIVISION
16
17   Consumer Financial Protection             Case No. 2:15-cv-09692-PSG(Ex)
     Bureau,
18                                             [PROPOSED] ORDER GRANTING
                         Plaintiffs,           STIPULATION TO EXTEND TIME
19
                                               TO RESPOND TO INITIAL
20         v.                                  COMPLAINT TO ALLOW FOR
                                               PLAINTIFF TO AMEND
21   D and D Marketing, Inc., d/b/a
                                               COMPLAINT
     T3Leads, Grigor Demirchyan, and
22
     Marina Demirchyan,                        Complaint Served: March 10, 2016
23                                             Current Response Date: June 8, 2016
                         Defendants.
24                                             New Proposed Response Date: June
                                               29, 2016
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     [PROPOSED] ORDER GRANTING STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL
     COMPLAINT TO ALLOW FOR PLAINTIFF TO AMEND COMPLAINT           Case No. 2:15-cv-09692-PSG(Ex)
     Case 2:15-cv-09692-PSG-E Document 31-1 Filed 05/26/16 Page 2 of 3 Page ID #:92



1          Having considered the Stipulation To Extend Time To Respond To Initial
2    Complaint To Allow For Plaintiff To Amend Complaint entered into between Plaintiff the
3    Consumer Financial Protection Bureau (“Plaintiff”) and Defendants D and D Marketing,
4    Inc., d/b/a T3Leads, Grigor Demirchyan, and Marina Demirchyan (collectively,
5    “Defendants”), and good cause appearing, it is hereby ORDERED that:
6              • Defendants shall have up to and including June 29, 2016 to answer, move, or
7                 otherwise respond to the Complaint;
8              • On or before June 29, 2016, the parties will file a stipulation requesting that
9                 Plaintiff be granted leave to file an amended complaint, in compliance with
10                Local Rule 15 (“Stipulation for Leave to Amend the Complaint”); and
11             • Defendants shall have thirty (30) days after the Court approves or rejects the
12                Stipulation for Leave to Amend the Complaint to answer, move, or
13                otherwise respond to the Amended Complaint or the Complaint, if
14                appropriate.
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16         IT IS SO ORDERED.
                                                   _____________________
17                                                    Hon. Philip S. Gutierrez
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     [PROPOSED] ORDER GRANTING STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL
     COMPLAINT TO ALLOW FOR PLAINTIFF TO AMEND COMPLAINT           Case No. 2:15-cv-09692-PSG(Ex)
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1                                     PROOF OF SERVICE
2          STATE OF CALIFORNIA, COUNTY OF CALIFORNIA
3
           I am employed in the County of San Francisco, State of California. I am over the
4
     age of 18 and not a party to the within action; my business address is: 580 California
5
     Street, Suite 1500, San Francisco, CA 94104. On May 2, 2016, I served the foregoing
6
     document(s) described as: [PROPOSED] ORDER GRANTING STIPULATION TO
7
     EXTEND TIME TO RESPOND TO INITIAL COMPLAINT TO ALLOW FOR
8
     PLAINTIFF TO AMEND COMPLAINT on the interested party(ies) below, using the
9
     following means:
10
                           All parties identified for Notice of Electronic
11                        Filing generated by the Court’s CM/ECF system
12                          under the reference case caption and number

13         I declare that I am employed in the office of a member of the bar of this court at
14   whose direction the service was made.
15         Executed on May 26, 2016 at San Francisco, California.
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                                                Suzanne G. Martinson
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     [PROPOSED] ORDER GRANTING STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL
     COMPLAINT TO ALLOW FOR PLAINTIFF TO AMEND COMPLAINT           Case No. 2:15-cv-09692-PSG(Ex)
